Case 3:17-cv-00072-NKM-JCH Document 1148-1 Filed 10/04/21 Page 1 of 2 Pageid#:
                                  19046




                       IN THE UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF VIRGINIA



  ELIZABETH SINES et al.                              :     Case No. 3:17-cv-00072

                 Plaintiff                            :     Judge MOON


                                                      :
         -v-

  JASON KESSLER et al.                                :

                                                      :
                 Defendants

  _______________________________________________________

    PROPOSED ORDER GRANTING DEFENDANTS’ MOTIONS IN LIMINE
                AND REQUEST FOR JUDICIAL NOTICE
  _______________________________________________________


         This matter is before the Court on defendants Jason Kessler, Nathan Damigo, and

  Identity Evropas’ (“Defendants”) Motions in Limine and Request for Judicial Notice. The

  Court being fully advised, it is hereby ORDERED, ADJUDGED, and DECREED that

  Defendants’ Request for Judicial Notice is GRANTED.

  IT IS FURTHER ORDERED that the Court shall take judicial notice, pursuant to FED. R.

  EVID. 201, of Defendants’ exhibits A,B,C,E,F, and G as contained in their Second Amended

  Exhibit List. (ECF 1143.)

  IT IS FURTHER ORDERED that Defendants are permitted to publish these exhibits to the

  jury during opening argument or during the trial.


                                                1
Case 3:17-cv-00072-NKM-JCH Document 1148-1 Filed 10/04/21 Page 2 of 2 Pageid#:
                                  19047



  IT IS FURTHER ORDERED that Defendants’ Motions in Limine are hereby GRANTED as

  indicated below and that all parties, their attorneys and/or witnesses are Ordered not to

  directly or indirectly argue, mention, refer to, interrogate concerning, or attempt to convey to

  the jury in any manner, any information regarding the following matters:


     1. Limit evidence regarding adverse inferences

         Granted

         Denied

         Reserved

     2. Exclude evidence of emotional distress to non-plaintiffs

         Granted

         Denied

         Reserved

     3. Exclude evidence regarding legal conclusions or definitions as to “conspiracy”,
        “racial animus” or substantially similar terms

         Granted

         Denied

         Reserved

     4. Limitation on testimony of experts Simi and Blee

         Granted

         Denied

         Reserved

  IT IS SO ORDERED. The Clerk is hereby directed to enter this Order and furnish copies to
  all parties.

                                                _____________________________
                                                Honorable Norman K. Moon


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